
Newburger, J.
The plaintiff’s hired a plot of ground at Sedgwick avenue and tiie old Boston road, in the city of New York, on which a frame house stood belonging to plaintiffs and occupied the same. During plaintiffs’ absence in the month of September, 1893, plaintiffs’ house was broken into by a number of men, and filled with cement, and the property of plaintiffs’ injured and destroyed. It is claimed that the cement was the property of defendant, and was brought to the house by the agents of defendant, to be used in improvements to the farm on which the house stood. This action is brought to recover damages for such acts on the part of defendant and his agents. A careful examination of the appeal book fails to disclose any errors. The trial justice properly submitted the case to the jury, and there are no exceptions that would warrant us in disturbing the judgment herein. The judgment must therefore bo affirmed, with costs.
